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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-2(c)

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In Re: CASE NO. 09-11198(GMB)
HERITAGE HIGHGATE, INC, et al., JUDGE: GLORIA M. BURNS

Debtors.

MOTION OF THE DEBTORS AND DEBTORS-IN-POSSESSION TO DETERMINE
THE VALUE OF THE SECURED CLAIMS OF PROBUILD EAST, LLC PURSUANT
TO 11 U.S.C. §506(a) AND RULE 3012 OF THE
FEDERAL RULES OF BANKRUPTCY PROCEDURE

Heritage Highgate, Inc., et al. (“Debtor’’) by and through its undersigned legal counsel,
Ciardi Ciardi & Astin, hereby requests a determination of the value of the claims filed by
ProBuild East, LLC (“ProBuild”) asserted as being secured by a lien on property of the Debtor!
pursuant to 11 U.S.C. §506(a) and Rule 3012 of the Federal Rules of Bankruptcy Procedure (the
“Motion”). In support of the Motion, the Debtor respectfully states as follows:
Jurisdiction
1. The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §1334.

This proceeding is a core proceeding within the meaning of 28 U.S.C. §157(b)(2)(A) and (O).

' Specifically, ProBuild East, LLC filed objections to the sale of Lots 32, 199 and 205 of the Debtor based upon
certain Mechanics liens allegedly held by ProBuild.
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2. Venue of these proceedings and this Motion is propert in this District

pursuant to 28 U.S.C. §§ 1408 and 1409.

3. The statutory predicates for the relief sought herein include 11 U.S.C.

§506(a) and Rule 3012 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

Background
4. A Voluntary Petition under Chapter 11 of Title 11 of the United States

Bankruptcy Code (“Code”) was filed by each of the Debtors on January 20, 2009 (“Filing
Date”). The Debtor continues to operate its business and manage its property as a debtor-in-
possession in accordance with sections 1107 and 1108 of the Bankruptcy Code.

5. The Debtor owns and develops a residential subdivision (the “Project”) in
Lehigh County, Pennsylvania, known as “Highgate.” As of the Petition Date, the Debtor has
delivered 101 units of a 411 unit subdivision. It has been the Debtor’s stated intentions to utilize

chapter 11 to reorganize and to continue and complete the Highgate Project and deliver a return

to their stakeholders.

6. On January 28, 2009, a Committee of Unsecured Creditors was duly
appointed pursuant to section 1102 of the Bankruptcy Code to represent creditors holding

unsecured claims in these cases.

7. On June 9, 2009, the Debtors filed the Disclosure Statement Pursuant to
Section 1125 of the Bankruptcy code Describing the Plan of Reorganization Proposed by
Heritage Highgate, Inc. and Heritage Twin Ponds, L.P., (collectively “the Debtor” or “Heritage
Highgate, et al.”) the Debtors and Debtors-in-Possession (the “Disclosure Statement”) and the

Joint Plan of Reorganization Proposed by the Debtor. (D.I. 133). The Plan proposes, inter alia,
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for the Debtors to emerge from chapter 11, continue and complete the Project and to make
distributions to creditors as set forth in the projections (the “Projections’’) attached to the Plan.

8. The hearing on approval of the Disclosure Statement is currently
returnable on September 29, 2009 at 11:30 a.m., which is also the time and date set for a hearing
on the Debtor’s further authority to use cash collateral.

9. As all parties in these chapter 11 cases are aware, it has been asserted
since the Petition Date that Wachovia Bank, N.A. (“Wachovia”), as agent, holds a first priority
lien on substantially all of the Debtor’s assets as security for approximately 16.8 million? owed
by the Debtor to Wachovia under a prepetition construction loan with Wachovia (the “Secured
Construction Loan Debt’).

10. In addition to the Secured Construction Loan Debt, to raise additional
working capital for the Project, in 2008 the Debtors entered into loan agreements with a group of
individuals and trusts known as the “Cornerstone Investors” and in connection therewith granted
each Cornerstone Investor a second priority lien on substantially all of the Debtor’s assets.
Attached hereto as Exhibit B, are the Schedule Ds filed by each Debtor in these cases setting
forth the names of the Cornerstone Investors and the amount owed to each Cornerstone Investor
according to the Debtor’s books and records (collectively, the “Cornerstone Investor Claims”).
According to the aforesaid Schedule Ds, the Debtor maintains that it owes the Cornerstone
Investors $2,940,000. 10.

11. The Plan currently provides that the Cornerstone Investors are the sole
members of Class 3 and they shall be paid in full plus interest in accordance with the Projections

while Class 5 unsecured creditors are to be paid a total of approximately thirty four percent

> Wachovia, as agent, has filed proofs of claim (the “Wachovia Claims”) in these cases stating that the total Secured
Construction Loan Debt is approximately $16,488,124.60 a copy of which is attached hereto as Exhibit A.
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(34%) of their claims under the Projections. The Plan further provides, as reflected in the
Projections, that the unsecured creditors in Class 5 receive no payments until the Cornerstone
Investors in Class 3 are paid in full, without regard to the value, if any, of the interest of the
Cornerstone Investors in the Debtors’ interest in property.

12. On or about September 1, 2009, ProBuild East, LLC filed limited
objections to the sale of lots 32 (Docket Item 186), 199 (Docket Item 185) and 205 (Docket Item
187). These objections allege, inter alia, that ProBuild East, LLC holds mechanics’ lien claims
of approximately $1,537.32 against lot 199, approximately $1,522.84 against lot 32 and
approximately $1,781.60 against lot 205. Each objection further alleges that the each, individual,
Mechanic’s Lien Claim was filed with the Court of Common Pleas of Lehigh County after the
Petition Date.

13. The Debtor strongly believes, based upon the appraised value of the
Debtor’s assets, that there is little, if any value to the assets above and beyond what Wachovia
and Cornerstone are owed under the Secured Construction Loan Debt. Accordingly, the Debtor
believes that the ProBuild claims are, at the most, only partly secured claims, and are more likely
wholly unsecured if their valuation is determined. For these reasons, the Debtor has filed this
Motion to ultimately determine the value of ProBuild’s claims, classify ProBuild as a wholly
unsecured creditor, based upon this valuation, and effectively prevent ProBuild from objecting to
the sale of any of the Debtor’s lots from the date of the Proposed Order moving forward.

Relief Requested

14. The Debtor hereby requests a determination of the value of the Secured
ProBuild Claims pursuant to section 506(a) of the Bankruptcy Code and Bankruptcy Rule 3012.

Basis for Relief

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Bankruptcy Rule 3012 provides as follows:

The court may determine the value of a claim secured by a lien on
property in which the estate has an interest on motion of any party in
interest and after a hearing on notice to the holder of the secured claim and
any other entity as the court may direct.

Fed. R. Bankr. P. 3012

16.

provide as follows:

Furthermore, the Advisory Committee Notes to Bankruptcy Rule 3012

Pursuant to §506(a) of the Code, secured claims are to be valued and
allowed as secured to the extent of the value of the collateral and
unsecured, to the extent it is enforceable, for the excess over such value.
The valuation of secured claims may become important in different
contexts, e.g., to determine the issue of adequate protection under §361,
impairment under §1124, or treatment of the claim in a plan pursuant to
§1129(b) of the Code. This rule permits the issue to be raised on motion
by a party in interest. The secured creditor is entitled to notice of the
hearing on the motion and the court may direct that others in the case also

receive such notice.

An adversary proceeding is commenced when the validity, priority, or
extent of a lien is at issue as described by Rule 7001. That proceeding is
relevant to the basis of the lien itself while valuation under Rule 3012
would be for the purposes indicated above.

Fed. R. Bankr. P. 3012 Adv. Comm. Notes.

17.

As contemplated by the Advisory Committee, the Debtor has moved under

Bankruptcy Rule 3012 to determine the value of the secured portion, if any, of the ProBuild

Claims in order to determine the validity of treatment of such claims in the Plan for purposes of

section 1129(b) of the Bankruptcy Code.

18.

Section 506(a)(1) of the Bankruptcy Code provides as follows:

An allowed claim of a creditor secured by a lien on property in which the
estate has an interest, or that is subject to setoff under section 553 of this
title [11 USCS §553], is a secured claim to the extent of the value of such
creditor’s interest in the estate’s interest in such property, or to the extent
of the amount subject to setoff, as the case may be, and is an unsecured
claim to the extent that the value of such creditor’s interest or the amount
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so subject to setoff is less than the amount of such allowed claim. Such
value shall be determined in light of the purpose of the valuation and the
proposed disposition or use of such property, and in conjunction with any
hearing on such disposition or use or on a plan affecting such creditor’s
interest.
11 U.S.C. §506(a)(1).
19. Thus, section 506(a) divides allowed claims into two classes. A claim that
is “secured by a lien on a debtor’s property is secured ‘to the extent of the value of such
creditor’s interest in the estate’s interest in such property,’” In re Baker, 300 B.R. 639, 643

(Bankr. W.D. Pa. 2003). “To the extent the claim exceeds that value, it is deemed to be

unsecured.” Id. (citing McDonald v. Master Financial, Inc. (In re McDonald), 205 F.3d 606, 609

(3d Cir. 2000)); see_also Johns v. Rousseau Mortgage Corp. (In_re Johns), 37 F.3d 1021

(superceded by statute on other grounds). As set forth in Baker, “[{i]f ... the value of the
collateral securing an obligation is less than the amount of an allowed claim, it follows, by
definition, that the claim is unsecured in the amount of that deficiency.” Baker, 300 B.R. at 643.
20. Attached to and in support of the Debtor’s Disclosure Statement is an
appraisal of the Project conducted by Reaves C. Lukens Company (the Appraisal”). A copy of
the Appraisal is attached hereto as Exhibit C. According to the Appraisal, the Debtors’ Project
(i.e. all of the Debtor’s property) has a total appraised value of $15,000,000 although the Debtor
firmly believes the actual value may be higher. As set forth above and in the Wachovia Claims,
the amount owed under the Construction Loan Debt is $16,488,124.60. The Debtor did not
object to the Wachovia Claims so they are “deemed allowed” pursuant to section 502(a) of the
Bankruptcy Code. Therefore, the Senior Construction Loan Debt has approximately $1,620,000
of negative equity in the Project. This means that pursuant to section 506(a) of the Bankruptcy

Code, the value of ProBuild’s interest in the Debtor’s interest in the Project comes after that of
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the Cornerstone Investors’ and is reasonably valued at $0.00, which leaves ProBuild with a
wholly unsecured deficiency claim for the total amount of the ProBuild Claims.

21. Therefore, the Debtor submits that the Court should determine that
whatever purported secured portion of the ProBuild Claim has no value, and, as a result,
ProBuild is a wholly unsecured creditor of the Debtor lacking the standing to object to current or
future proposed sales of lots held by and within the Estate of the Debtor.

Notice

22. The Debtor is serving complete copies of this Motion on (i) counsel for
Committee; (ii) counsel for ProBuild East, LLC; (iii) the Office of the United States Trustee; (iv)
counsel for Wachovia Bank, N.A.; and (v) counsel for the Cornerstone Investors. Notice of this
Motion is being served on all other persons and entities that have requested notice pursuant to

Bankruptcy Rule 2002.

23. | The Debtor submits that such notice is appropriate and proper and meets

the requirements of section 102(a) of the Bankruptcy Code and Bankruptcy Rule 3012.
WHEREFORE, the Debtor requests that this Court enter an order in the form attached

hereto and for such other and further relief as this Court deems just.

Respectfully submitted,

CIARDI CIARDI & ASTIN
Dated: September 14, 2009 By: __/s/ Albert A. Ciardi, HT

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Attorneys for the Debtor and the
Debtor-in-Possession
